         Case 23-80015-sgj11                      Doc 1        Filed 12/19/23 Entered 12/19/23 21:29:25                               Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                           Northern District of Texas
                                        (State)

 Case number (If known):                                       Chapter 11                                                              Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                           Impel NeuroPharma Australia Pty Ltd

                                              None
 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer               N      /   A
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                              40 City Road
                                              Number          Street                                         Number      Street

                                              Floor 19, HWT Tower
                                                                                                             P.O. Box

                                              Southbank                       Victoria       3006
                                              City                              State      ZIP Code          City                        State        ZIP Code

                                                                                                             Location of principal assets, if different from
                                              Australia                                                      principal place of business
                                              Country
                                                                                                             Number      Street




                                                                                                             City                        State        ZIP Code




 5.   Debtor’s website (URL)                  https://www.impelpharma.com




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Debtor        Impel NeuroPharma Australia Pty Ltd                                               Case number (if known)
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify:

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                                3    2     5      4

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                             affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                            recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                             income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                               11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                   the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                   Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                   for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                   201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.

                                            Chapter 12


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Debtor         Impel NeuroPharma Australia Pty Ltd                                                Case number (if known)
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?               Yes. District                                When                            Case number
                                                                                                   MM / DD / YYYY
      If more than 2 cases, attach a
                                                      District                             When                            Case number
      separate list.
                                                                                                   MM / DD / YYYY


 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                Yes. Debtor See Schedule 1                                                    Relationship   Affiliate
      affiliate of the debtor?              District Northern District of Texas                                            When           12/19/2023
                                                                                                                                          MM / DD          / YYYY
      List all cases. If more than 1,
      attach a separate list.                         Case number, if known



 11. Why is the case filed in this          Check all that apply:
      district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have            No
      possession of any real
                                             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                      Other


                                                     Where is the property?
                                                                                  Number          Street




                                                                                  City                                                    State ZIP Code


                                                     Is the property insured?
                                                      No
                                                      Yes. Insurance agency
                                                                 Contact name

                                                                 Phone




              Statistical and administrative information




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Debtor        Impel NeuroPharma Australia pty Ltd                                              Case num beq,1"""""),______________
              Name



  13. Debtor's estimation of               Check one:
      available funds                    ✓ Funds will be available for distribution to unsecured creditors.
                                         □After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           01-49                            □ 1,000-5,000                                0 25,001-50,000
  14. Estimated number of
                                           □ 50-99                          □ 5,001-10,000                               □ 50,001-100,000
     creditors
                                           □ 100-199                        □ 10,001-25,000                              D More than 100,000
                                           ✓200-999

                                           □ $0-$50,000                     D $1,000,001-$10 million                     D $500,000,001-$1 billion
  1s. Estimated assets                     □ $50,001-$100,000               ✓$10,000,001-$50 million                     D $1,000,000,001-$10 billion
                                           □ $100,001-$500,000              D $50,000,001-$100 million                   D $10,000,000,001-$50 billion
                                           D $500,001-$1 million            D $100,000,001-$500 million                  D More than $50 billion

                                           □ $0-$50,000                        D $1,000,001-$10 million                  D $500,000,001-$1 billion
 16. Estimated liabilities
                                           □ $50,001-$100,000                  □ s10,ooo,001-$50 million                 D $1,000,000,001-$10 billion
                                           □ $100,001-$500,000                 0$50,000,001-$100 million                 D $10,000,000,001-$50 billion
                                           D $500,001-$1 million               ✓$100,000,001-$500 million                D More than $50 billion


             Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 11. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                               petition.
     debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                               Executed on     12         19     I2 0 2 3
                                                             MM / DD /YYYY

                                                                                                           Brandon Smith
                                            ,X Signat�eofdebtor                                            Printed name

                                               Title Chief Restructuring Officer




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Debtor        Impel NeuroPharma Australia Pty Ltd                                             Case number (if known)
              Name


18. Signature of attorney                   /s/ Rakhee V. Patel                                           Date         12/19/2023
                                            Signature of attorney for debtor                                           MM/DD/YYYY


                                            Rakhee Patel
                                            Printed name
                                            Sidley Austin LLP
                                            Firm name

                                            2021 McKinney Ave, Suite 2000
                                            Number                    Street

                                            Dallas                                                                Texas              75201
                                                                                                                  State                  ZIP Code
                                            City
                                            (214) 981-3421                                                        rpatel@sidley.com
                                            Contact phone                                                                Email address
                                            00797213                                            Texas
                                            Bar number                                          State




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Fill in this information to identify the case:

United States Bankruptcy Court for the:


                          Northern District of Texas
                                      (State)

Case number (If known):                                 Chapter 11                                   Check if this is an
                                                                                                       amended filing



                                                                     Schedule 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
      in the United States Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of
      title 11 of the United States Code. The Debtors have moved for joint administration of these cases
      under the case number assigned to the chapter 11 case of Impel Pharmaceuticals Inc.

      Impel Pharmaceuticals Inc.
      Impel NeuroPharma Australia Pty Ltd
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                     IMPEL NEUROPHARMA AUSTRALIA PTY LTD
                                 ACN 611 195 567
                                 (the “Company”)

           Resolution of the Board of Directors of Impel NeuroPharma Pty Ltd

Date:          December 18, 2023

Resolutions:           Whereas, pursuant to the Corporations Act 2001 (Cth) and Section 36 of the
               Company Constitution of Impel NeuroPharma Australia Pty Ltd (the “Company”)
               the members of the Company’s Board of Directors, constituting all of the directors
               then in office, hereby take the following actions and are in favour of adopting the
               following resolutions:

                       WHEREAS, the Board has reviewed and considered the materials
               presented by, or on behalf of, the Company’s management (“Management”) and
               financial and legal advisors (collectively, the “Advisors”), including, but not
               limited to, materials regarding the liabilities, obligations, and liquidity of the
               Company, the strategic alternatives available to the Company, and the impact of
               the foregoing on the Company’s business;

                       WHEREAS, the Board has determined that in light of the current
               circumstances of the Company and its parent, Impel Pharmaceuticals Inc., it is in
               the best interests of the Company, its creditors, equity holders, subsidiaries, and
               employees that the Company have access to additional guidance, expertise, and
               assistance in the form of a Chief Restructuring Officer; and

                       WHEREAS, the Board has considered presentations from the Company’s
               management and advisors concerning the potential appointment of a Chief
               Restructuring Officer for the Company and determined that it is in the best interests
               of the Company, its creditors, equity holders, subsidiaries, and employees that the
               Company retain Mr. Brandon Smith to provide services as their Chief Restructuring
               Officer (the “CRO”); and

                       WHEREAS, the Board has been provided with and given the opportunity
               to review a form of engagement letter for the CRO engagement and determined that
               the Company’s execution of such engagement letter, including the indemnification
               and reimbursement provisions thereof, is reasonable and in the best interests of the
               Company, its creditors, equity holders, subsidiaries, and employees; and

                      WHEREAS, the Board has reviewed and considered presentations by
               Management and the Advisors of the Company regarding the advantages and
               disadvantages of filing a voluntary petition for relief (the “Bankruptcy Petition”)
               pursuant to chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq.
               (as amended, the “Bankruptcy Code”) and have had adequate opportunity to
               consult such persons regarding the materials presented, obtain additional
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            information, and to fully consider each of the strategic alternatives available to the
            Company; and

                    WHEREAS, the Board has determined, in its business judgment, that the
            following resolutions are advisable and in the best interests of the Company, its
            interest holders, its subsidiaries, its creditors, other stakeholders, and other parties
            in interest.

                   NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to
            the applicable governing documents of the Company, the undersigned do hereby
            adopt the following resolutions:

            1.     Appointment of CRO

                   RESOLVED, that Mr. Brandon Smith of Teneo Capital LLC is hereby
            appointed as the CRO of the Company;

                   RESOLVED FURTHER, that the Company is hereby authorized to retain
            Teneo Capital LLC (“Teneo”) to provide interim management services to the
            Company and to compensate Teneo for the provision of such services on the terms
            previously presented to the Board;

            2.     Chapter 11 Filing

                    RESOLVED, that the members of the Board have considered their
            fiduciary duties under applicable law in exercising their powers and discharging
            their duties, to act honestly and in good faith with a view to the best interests of the
            Company as a whole, to exercise the care, diligence, and skill that a reasonably
            prudent person would exercise in comparable circumstances, and, as applicable,
            with consideration to the Company’s public benefit purpose;

                    RESOLVED FURTHER, that in the judgment of the Board, it is desirable
            and in the best interests of the Company, its interest holders, subsidiaries, creditors,
            other stakeholder, and other parties in interest, that the Company shall be, and
            hereby is, in all respects authorized to file, or cause to be filed, the Bankruptcy
            Petition under the provisions of chapter 11 of the Bankruptcy Code in the United
            States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy
            Court”) for the Company, and any other petition for relief or recognition or other
            order that may be desirable under applicable law in the United States, and, in
            accordance with the requirements of the Company’s governing documents and
            applicable law, hereby consents to, authorizes, and approves, the filing of the
            Bankruptcy Petition (the chapter 11 cases initiated by the filing of the Bankruptcy
            Petition and such petitions as filed by the Company’s subsidiaries, the “Chapter 11
            Cases”);

                  RESOLVED FURTHER, that any director or duly appointed officer of the
            Company, each acting individually and with full power of substitution (together
            with any persons to whom such persons delegate certain responsibilities,
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            collectively, the “Authorized Persons”) be, and hereby is, authorized to execute and
            file on behalf of the Company all petitions, schedules, lists, and other motions,
            papers, or documents, and to take any and all action that such Authorized Person
            deems necessary or proper to obtain such relief, including, but not limited to, any
            action necessary or proper to maintain the ordinary course operations of the
            Company and/or obtain additional financing in accordance with the Bankruptcy
            Code.

            3.     Retention of Professionals

                     RESOLVED, that each of the Authorized Persons, acting individually and
            with full power of substitution, be, and hereby is, authorized, empowered and
            directed to retain the following professionals on behalf of the Company: (i) the law
            firm of Sidley Austin LLP, as general bankruptcy counsel; (ii) the law firm of
            Fenwick & West LLP as special corporate counsel (iii) the investment banking firm
            of Moelis & Company as investment banker; (iv) Omni Agent Solutions, as claims
            and noticing agent and administrative advisor; and (v) any other legal counsel,
            accountants, financial advisors, restructuring advisors, or other professionals as
            such Authorized Person deems necessary, appropriate, or advisable to represent and
            assist the Company in carrying out its duties and responsibilities and exercising its
            rights under the Bankruptcy Code and any applicable law (including, but not limited
            to, the law firms filing any pleadings or responses) and to take any and all actions
            to advance the rights and obligations of the Company, including filing any motions,
            objections, replies, applications, or pleadings; and in connection therewith, each of
            the Authorized Persons be, and hereby is authorized, empowered, and directed, in
            accordance with the terms and conditions hereof, to execute appropriate retention
            agreements, pay appropriate retainers, and to cause to be filed appropriate
            applications for authority to retain such services; and

                   RESOLVED FURTHER, that each of the Authorized Persons be, and
            hereby are, authorized and empowered and directed to execute and file all petitions,
            schedules, motions, lists, applications, pleadings, or other papers, and to perform
            such further actions and execute such further documentation that the Authorized
            Persons in their absolute discretion deem necessary, appropriate, or desirable in
            accordance with these resolutions.

            4.     Use of Cash Collateral and Adequate Protection

                   RESOLVED, that the Company will obtain benefits from the use of its
            property (including cash collateral, as that term is defined in section 363(a) of the
            Bankruptcy Code (the “Cash Collateral”)), which is security for certain of the
            Company’s prepetition secured lenders under certain credit facilities by and among
            the Company, the guarantors party thereto, and the lenders party thereto (the
            “Prepetition Secured Lenders”);

                    RESOLVED FURTHER, each of the Authorized Persons be, and hereby
            are, authorized, directed, and empowered in the name of, and on behalf of, the
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            Company to seek approval of the use of cash collateral pursuant to a cash collateral
            order in interim and final form (a “Cash Collateral Order”), and any Authorized
            Person be, and hereby is, authorized, empowered, and directed to negotiate,
            execute, and deliver any and all agreements, instruments, or documents, by or on
            behalf of the Company, necessary or advisable to implement the Cash Collateral
            Order, including providing for adequate protection to the Prepetition Secured
            Lenders in accordance with section 363 of the Bankruptcy Code (the “Adequate
            Protection Obligations”), as well as any additional or further agreements for the use
            of cash collateral in connection with the chapter 11 cases, which agreement(s) may
            require the Company to grant adequate protection and security interests to the
            Prepetition Secured Lenders and each other agreement, instrument, or document to
            be executed and delivered in connection therewith, by or on behalf of the Company
            pursuant thereto or in connection therewith, all with such changes therein and
            additions thereto as any Authorized Person, such approval to be conclusively
            evidenced by the taking of such action or by the execution and delivery thereof;

                   RESOLVED FURTHER, that the Company, as debtors and debtors in
            possession under the Bankruptcy Code be, and hereby is, authorized to incur the
            Adequate Protection Obligations.

            5.     Marketing Process and Sale

                    RESOLVED, that the Company, with the assistance of its Advisors, is
            authorized to continue its fulsome marketing and sale process during the Chapter
            11 Cases, including contacting, discussing, negotiating, and soliciting offers from
            potential bidders, including conducting any auction in connection therewith, in
            order to receive the highest or otherwise best offer for the sale of the Company’s
            Assets (collectively, the “Sale Process”);

                    RESOLVED FURTHER, that in the judgment of the Company, it is
            desirable and in the best interests of each Company, its interest holders, its
            subsidiaries, its creditors, and other parties in interest that each Company be, and
            hereby is, authorized to negotiate, execute, and enter into, all required
            documentation to consummate any sale transaction for the highest or otherwise best
            offer for the sale of any assets of each Company (the “Sale Transaction(s)”)
            (including any stalking horse agreement, asset purchase agreements or any other
            agreements or documents evidencing any such sale (collectively, the “Purchase
            Agreement(s)”)), with such changes, additions, and modifications thereto as an
            Authorized Person shall approve;

                   RESOLVED FURTHER, that the Company shall be, and hereby is, and
            the Authorized Persons shall be, and each of them, acting alone, hereby is, in the
            name and on behalf of the Company, authorized, directed and empowered to seek
            entry of an order or orders authorizing entry into any Purchase Agreement(s) and
            consummation of the Sale Transaction(s) contemplated thereby, all substantially in
            accordance with documents that have been presented or will be presented to the
            Governing Bodies and/or filed with the Bankruptcy Court, subject to such
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            modifications thereto as the Governing Bodies or Management may deem
            necessary or advisable (the approval of which to be conclusively established by the
            execution thereof by an Authorized Person);

                    RESOLVED FURTHER, that each of the Authorized Persons be, and
            hereby is, authorized and empowered to take any and all actions necessary or
            advisable to advance each Company’s rights and obligations under any Purchase
            Agreement and/or the Sale Process, including filing of additional pleadings with
            the Bankruptcy Court; and in connection therewith, each Authorized Person, with
            power of delegation, is hereby authorized and directed to take all necessary actions
            in furtherance of the foregoing resolutions;

                    RESOLVED FURTHER, each Governing Body hereby authorizes,
            adopts, approves, ratifies and confirms the Sale Transaction(s) and each Company’s
            entry into the Purchase Agreement(s), and each of the documents and agreements
            contemplated under any Purchase Agreement (the “Transaction Documents”) to
            which the Company is a party, and the performance of the Company’s obligations
            thereunder and (subject to the approval of the Bankruptcy Court) the consummation
            of the Sale Transaction(s) contemplated thereby;

                   RESOLVED FURTHER, that each Authorized Person hereby is
            authorized and empowered to execute and deliver any Purchase Agreement(s), any
            Transaction Documents and any and all certificates, agreements, instruments,
            documents and undertakings of any kind and nature contemplated thereunder to
            which each Company is to be a party or as are necessary or appropriate to
            consummate the Sale Transaction(s) contemplated by any Purchase Agreement(s)
            and the Transaction Documents, in the name and on behalf of each Company, with
            such additions, deletions or changes therein (including, without limitation, any
            additions, deletions or changes to any schedules or exhibits thereto) as the
            Authorized Person executing the same shall approve (the execution and delivery
            thereof by the Authorized Person to be conclusive evidence of such Authorized
            Person’s approval of any such additions, deletions or changes);

                    RESOLVED FURTHER, in addition to the specific authorizations
            heretofore conferred upon the Authorized Persons, the Authorized Persons, either
            individually or as otherwise required by each Company’s Governing Documents
            and applicable law, be, and each of them hereby is, authorized to execute (under
            hand or under the common seal of the Company if appropriate), acknowledge,
            deliver, and file any and all agreements, certificates, instruments, powers of
            attorney, letters, forms, transfer, deeds and other documents on behalf of the
            Company relating to any Purchase Agreement(s) and the Transaction Documents;

            6.     Further Actions and Prior Acts

                   RESOLVED FURTHER, that in addition to the specific authorizations
            heretofore conferred upon the Authorized Persons, the Authorized Persons, either
            individually or as otherwise required by the Company’s governing documents and
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             applicable law, be, and each of them hereby is, authorized to execute (under hand
             or under the common seal of the Company if appropriate), acknowledge, deliver,
             and file any and all agreements, certificates, instruments, powers of attorney,
             letters, forms, transfer, deeds and other documents on behalf of the Company
             relating to the Chapter 11 Cases;

                     RESOLVED FURTHER, that each of the Authorized Persons, each acting
             individually and with full power of substitution be, and hereby is, authorized,
             empowered, and directed to execute and file all petitions, schedules, motions, lists,
             applications, pleadings, and other papers, and to perform such further actions and
             execute such further documentation that such Authorized Person in their absolute
             discretion deems necessary, appropriate, or desirable in accordance with these
             resolutions;

                     RESOLVED FURTHER, that, in addition to the specific authorizations
             heretofore conferred upon the Authorized Persons, the Authorized Persons, either
             individually or as otherwise required by the Company’s governing documents and
             applicable law, be, and each of them hereby is, authorized to take any and all such
             other and further actions, and to do all such other deeds and other things as the
             Company may lawfully do, in accordance with its governing documents and
             applicable law, including but not limited to, the negotiation, finalization, execution,
             acknowledgement, delivery, and filing of any and all agreements, certificates,
             instruments, powers of attorney, letters, forms, transfer, deeds, and other documents
             on behalf of the Company, and the payment of all expenses, including but not
             limited to filing fees, in each case as such Authorized Person’s or Authorized
             Persons’ may, in his/her/its/their absolute and unfettered discretion approve, deem
             or determine necessary, appropriate, advisable, or desirable in order to fully carry
             out the intent and accomplish the purposes of the resolutions adopted herein; such
             approval, deeming, or determination to be conclusively evidenced by said
             individual taking such action or the execution thereof;

                     RESOLVED FURTHER, that the Board has received sufficient notice of
             the actions and transactions relating to the matters contemplated by the foregoing
             resolutions, as may be required by the organizational documents of the Company,
             or hereby waive any right to have received such notice; and

                     RESOLVED FURTHER, that all acts, actions, and transactions relating to
             the matters contemplated by the foregoing resolutions done in the name of and on
             behalf of the Company, which acts would have been approved by the foregoing
             resolutions except that such acts were taken before the adoption of these
             resolutions, are hereby in all respects approved, confirmed and ratified as the true
             acts and deeds of the Company with the same force and effect as if each such act,
             transaction, agreement, or certificate had been specifically authorized in advance
             by resolution of the Boards.

[Documents: That the necessary documents be prepared and lodged with the Commission.]
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    Signcd by all ofthe directors ofthe company in accordance with the requirements ofthe company
    Constitution:


       ril"r.it,*h.      1,.-                       Date:    12/18/2023
     Michael Joseph Thum



                                                    Date
      John Hoekman




                        [STGNATURE PaGE To MEMoR-A-\DUM oF RDSoLuTIoNS oF rHE
                     BOARD oF DIRECToRS oF IMPEL NEURoPHARMA AUSTRAI,IA PTY LTD]
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 Signed by all of the directors of the company in accordance with the requirements of the company
 Constitution:



                                                       Date: --------------
  Michael Joseph Thurn

                                                                 12/18/2023
                                                       Date: --------------
   John Hoeianm;°




                            Sl�rNA'ffltE P GE TO MEMORANDUM OF RESOLUTIONS OF THE
                ;:. lV' "''�llfc,"'vn1...,•Prvr◄ o o, IMPEL NEUROPHARMA AUSTRALIA PTY L m J
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      Fill in this information to identify the case:

      Debtor name Impel Pharmaceuticals, Inc., et al.

      United States Bankruptcy Court for the: Northern District of Texas______________

      Case number (If known):                                                                                                                    Check if this is
                                                                                                                                                     an amended
                                                                                                                                                     filing



Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
    not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
    the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


     Name of creditor and complete             Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated,   total claim amount and deduction for value of
                                                                                   services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff
     Symphony Health                          Natalia Garcia,                     Trade Debt             Liquidated                                           $482,358.75
1    4130 ParkLake Ave.                       52 55 4122 6141,
     Suite 400                                natalia.garcia2@iconplc.com
     Raleigh, NC 27612

     Good Apple                               646-450-7126,                       Trade Debt             Liquidated                                           $292,661.03
2    P.O. Box 1695                            accounting@goodapple.com
     Lakeville, CT 06039


     Pharmaceutical Data Services (PDS)       Jeremy Destito,                     Trade Debt             Liquidated                                           $201,500.00
3    3000 Whitney Ave.                        203-376-9803,
     Box 138                                  jeremy.destito@gopds.net
     Hamden, CT 06518

     ASPN Pharmacies, LLC                     Ronak Patel,                        Trade Debt             Liquidated                                           $120,000.00
4    200 Park Ave. Suite 300                  973-5648004,
     Florham Park, NJ 07932                   ronak.patel@asembia.com


     TrnDigital, LLC                          Shailendra Singh                    Trade Debt             Liquidated                                           $82,113.90
5    200 Portland St Floor 5                  860-460-6559,
     Boston, MA 02114                         shailendra.singh@trndigital.com


     PPD Development                          Gerald Maquera, 608-203-4020,       Trade Debt             Liquidated                                           $78,770.80
6    8551 Research Way, Suite 90,             gerald.maquera@ppd.com
     Middleton, WI 53562


     Amex                                     Shelly A. Laycock,                  Trade Debt             Liquidated                                           $70,000.00
7    200 Vesey Street                         480-559-7268,
     New York, NY 10285                       shelley.a.laycock@aexp.com


     Cardinal Health                          Vivek Kumar,                     Trade Debt                Liquidated                                           $69,626.22
8    7000 Cardinal Place,                     614.553.4460,
     Dublin, OH 43017                         vivek.kumar05@cardinalhealth.com




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                                                             Document     Page 16 of 20
                                                                                                     Case number (if known)
    Debtor          Impel Pharmaceuticals, Inc., et al.
                    Name




     Name of creditor and complete              Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code        email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                               professional            unliquidated,    total claim amount and deduction for value of
                                                                               services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

     Phil, Inc                                Deepak Thomas,                  Trade Debt              Liquidated                                             $60,000.00
9    2443 Fillmore St. #380-1423 San          deepak@phil.us
     Francisco, CA 94115


     Citeline                                 David Ross                      Trade Debt              Liquidated                                             $56,921.70
10 Caerus US 1 Inc.                           646.984.4007
     1 Penn Plz Ste 2505                      david.ross@informa.com
     New York, NY 10119-2500

     Med Communications, Inc.                 Kristi Pearson,               Trade Debt                Liquidated                                             $53,276.00
11 5100 Poplar Ave. Suite 450                  901-578-3200,
     Memphis, TN 38137                        kristi.pearson@medcomminc.com


     SHOP-PR LLC_TWELVENOTE                   LaToria Jones,                  Trade Debt              Liquidated                                             $42,000.00
12 140 Broadway 28th Floor                    703-258-9066,
     New York, NY 10005                       ljones@lippetaylor.com


     Two Labs Holdings LLC                    Glenda Padilla                   Trade Debt             Liquidated                                             $35,290.30
13 110 Riverbend Ave. Suite 100                614.822.7738
      Powell OH 43065                         glenda.padilla@envisionpharma.co
                                              m

     CPA Global                               Jai Shekhawat 646-517-1527      Trade Debt              Liquidated                                             $33,378.32
14 2318 Mill Road 12th Floor                  jai.shekhawat@clarivate.com
     Alexandria, VA 22314


     QPharma                                  Melissa Raygada,              Trade Debt                Liquidated                                             $33,069.64
15 22 South St.                               973-656-0011,
     Morristown, NJ 07960                     Melissa.Raygada@qpharmacorp.c
                                              om

     Integrichain                             Jillian Smiley,                 Trade Debt              Liquidated                                             $32,000.00
16 8 Penn Center 1628 JFK Blvd. Suite         630-301-9608,
     300 Philadelphia, PA 19103               jsmiley@integrichain.com


     CFI Workspace                            Barbara Dockery                 Trade Debt              Liquidated                                             $31,290.56
17 7001 N. Park Dr.                           215.279.9410 ext 410
     Pennsauken, NJ 08109                     bdockery@cfiworkspace.com


     Donnelley Financial Solutions            Anne Livingston                 Trade Debt              Liquidated                                             $31,060.88
18 35 W. Wacker Drive                         855.542.9011
     Chicago IL 60601                         accounts-
                                              receivable@dfinsolutions.com

     CCG Corporate Mailings, Inc.             Annamarie Palk                  Trade Debt              Liquidated                                             $29,956.62
19 14 Henderson Dr,                           973.808.0009 ext, 2102
     West Caldwell, NJ 07006                  a_dannacher@corpcomm.com


     Juice Pharma Worldwide                   Chi Cheung                      Trade Debt              Liquidated                                             $26,000.00
20 132 West 31st St.                          212-367-2416,
     New York, NY 10001                       ccheung@juicepharma.com




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  Debtor          Impel Pharmaceuticals, Inc., et al.
                  Name

  Case number (if known)


   Name of creditor and complete              Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
   mailing address, including zip code        email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated,   total claim amount and deduction for value of
                                                                               services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff

   Clinigen CSM, Inc                        Nick Leary                       Trade Debt              Liquidated                                           $25,156.66
21 342 42nd St. S.                          267.603.5566
   Fargo, ND 58103                          nicholas.leary@clinigengroup.com


   Carepoint Healthcare LLC                 Bhavesh Patel                      Trade Debt            Liquidated                                           $25,000.00
22 9 Commerce Drive,                        855.237.9112
   Schaumburg, IL 60173                     bpatel@carepointrx.com


   Imprint Science                          Leela Ramdas                 Trade Debt                  Liquidated                                           $17,684.01
23 3 Columbus Circle Floor 7                212.614.5088
   New York NY 10019-8750                   Leelawattee.Ramdas@vmlyr.com


   Healthcare Alliance Group                Jill Kowalew                       Trade Debt            Liquidated                                           $14,914.98
24 101 Laurel Road, Suite 100               215.262.8047
   Voorhees, NJ 08043                       jkowalew@rmcom.net


   Mainehealth                              Melanie Hounchell                Trade Debt              Liquidated                                           $14,357.00
25 One Dana Court                           513.885.7435
   Westbrook ME 04092                       Melanie.Hounchell@mainehealth.or
                                            g

   CobbleStone Systems Corp                 Matthew Hughes                 Trade Debt                Liquidated                                           $13,894.25
26 428 S White Horse Pike                   866.330.0056 ext 1111
   Lindenwold, NJ 08021                     mhughes@cobblestonesoftware.co
                                            m

   InsightSoftware                          Christine Sadorra                   Trade Debt           Liquidated                                           $12,107.99
27 8529 Six Forks Road Ste 300              919.872.7800
    Raleigh NC 27615                        christine.sadorra@insightsoftware.c
                                            om

   Marketo                                  Nick Moore                         Trade Debt            Liquidated                                           $10,074.81
28 901 Mariners Island Blvd. Suite 500      970.390.9173
   San Mateo, CA 94404                      nmoore@adobe.com


   UW Center for Comotion                   Dennis A. Hanson, PhD,             Trade Debt            Liquidated                                           $10,000.00
29 4545 Roosevelt Way NE #400,              206.543.0430,
    Seattle, WA 98105                       hansonda@uw.edu


   PSKW, LLC (ConnectiveRx)                 Lea Quizon                         Trade Debt            Liquidated                                           $8,150.00
30 P.O. Box 825135                          908-809-6154,
   Philadelphia, PA 19182-5147              lea.quizon@connectiverx.com




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS


 In re:                                               Chapter 11

 IMPEL NEUROPHARMA AUSTRALIA                          Case No. 23-_____ (___)
 PTY LTD,

                       Debtor.


                 LIST OF REGISTERED EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.

                 Equity Holder                               Percentage of Equity Held
            Impel Pharmaceuticals Inc.                                100%
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS


 In re:                                             Chapter 11

 IMPEL NEUROPHARMA AUSTRALIA                        Case No. 23-_____ (___)
 PTY LTD,

                       Debtor.


                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interests.

Directly:

 Shareholder                                     Approximate Percentage of Shares Held
         Impel Pharmaceuticals Inc.                               100%


Indirectly:


 Shareholder                     Approximate Percentage of Shares Held
          KKR Iris Investors                     17.3%
 NORWEST VENTURE PARTNERS XIV LP                 13.0%
        5AM Ventures V, L.P.                     12.1%
          Vivo Capital LLC                       12.1%
         Venbio Capital LLC                      11.6%
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